            Case 1:12-cv-00448-LJO-SKO Document 14 Filed 08/27/12 Page 1 of 3


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 3
                              UNITED STATES DISTRICT COURT
 4
                                 EASTERN DISTRICT OF CALIFORNIA
 5
 6   LUIS SANCHEZ,                                            CASE NO. 1:12-cv-00428-LJO-SKO
 7                                                                    Related Cases:
                            Plaintiff,                                No. 1:12-cv-00429-LJO-SKO
 8                                                                    No. 1:12-cv-00430-LJO-SKO
            v.                                                        No. 1:12-cv-00431-LJO-SKO
 9                                                                    No. 1:12-cv-00432-LJO-SKO
                                                                      No. 1:12-cv-00434-LJO-SKO
10                                                                    No. 1:12-cv-00436-LJO-SKO
     CITY OF FRESNO, et al.,                                          No. 1:12-cv-00439-LJO-SKO
11                                                                    No. 1:12-cv-00448-LJO-SKO
                                                                      No. 1:12-cv-00528-LJO-SKO
12                          Defendants.                               No. 1:12-cv-01117-LJO-SKO
                                                                      No. 1:12-cv-01118-LJO-SKO
13                                                                    No. 1:12-cv-01119-LJO-SKO
                                                                      No. 1:12-cv-01120-LJO-SKO
14                                                                    No. 1:12-cv-01121-LJO-SKO
                                                                      No. 1:12-cv-01122-LJO-SKO
15                                                                    No. 1:12-cv-01123-LJO-SKO
                                                                      No. 1:12-cv-01124-LJO-SKO
16                                                                    No. 1:12-cv-01125-LJO-SKO
                                                                      No. 1:12-cv-01126-LJO-SKO
17                                                                    No. 1:12-cv-01128-LJO-SKO
                                                                      No. 1:12-cv-01130-LJO-SKO
18                                                                    No. 1:12-cv-01132-LJO-SKO
                                                                      No. 1:12-cv-01133-LJO-SKO
19                                                                    No. 1:12-cv-01134-LJO-SKO
                                                                      No. 1:12-cv-01136-LJO-SKO
20                                                                    No. 1:12-cv-01137-LJO-SKO
                                                                      No. 1:12-cv-01138-LJO-SKO
21                                                                    No. 1:12-cv-01139-LJO-SKO
                                                                      No. 1:12-cv-01161-LJO-SKO
22                                                                    No. 1:12-cv-01162-LJO-SKO
                                                                      No. 1:12-cv-01166-LJO-SKO
23                                                                    No. 1:12-cv-01215-LJO-SKO
24
                                                              ORDER CONSOLIDATING CASES
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27          On August 1, 2012, the parties filed a stipulation indicating, inter alia, the parties were in
28   agreement that the cases related to this matter should be consolidated for all pretrial purposes. Based
            Case 1:12-cv-00448-LJO-SKO Document 14 Filed 08/27/12 Page 2 of 3


 1   on the parties' stipulation, and because the Court finds that consolidation promotes judicial
 2   efficiency, the following cases shall be consolidated pursuant to Federal Rule of Civil Procedure 42:
 3          (1)     Deen et al. v. City of Fresno, et al., No. 1:12-cv-00429-LJO-SKO
 4          (2)     Valenzuela v. City of Fresno, et al., No. 1:12-cv-00430-LJO-SKO
 5          (3)     Idell v. City of Fresno, et al., No. 1:12-cv-00431-LJO-SKO
 6          (4)     Gray, et al. v. City of Fresno, et al., No. 1:12-cv-00432-LJO-SKO
 7          (5)     Calmer, et al. v. City of Fresno, et al., No. 1:12-cv-00434-LJO-SKO
 8          (6)     Graham v. City of Fresno, et al., No. 1:12-cv-00436-LJO-SKO
 9          (7)     Williams v. City of Fresno, et al., No. 1:12-cv-00439-LJO-SKO
10          (8)     Soto v. City of Fresno, et al., No. 1:12-cv-00448-LJO-SKO
11          (9)     Subia, et al. v. City of Fresno, et al., No. 1:12-cv-00528-LJO-SKO
12          (10)    Anderson v. City of Fresno, et al., No. 1:12-cv-01117-LJO-SKO
13          (11)    Montgomery v. City of Fresno, et al., No. 1:12-cv-01118-LJO-SKO
14          (12)    Frazier v. City of Fresno, et al., No. 1:12-cv-01119-LJO-SKO
15          (13)    Valenzuela v. City of Fresno, et al., No. 1:12-cv-01120-LJO-SKO
16          (14)    Randle v. City of Fresno, et al., No. 12-cv-01121-LJO-SKO
17          (15)    Dorsey v. City of Fresno, et al., No. 1:12-cv-01122-LJO-SKO
18          (16)    Ward v. City of Fresno, et al., No. 1:12-cv-01123-LJO-SKO
19          (17)    Heager v. City of Fresno, et al., No. 1:12-cv-01124-LJO-SKO
20          (18)    Jones v. City of Fresno, et al., 1:12-cv-01125-LJO-SKO
21          (19)    Bufford v. City of Fresno, et al., 1:12-cv-01126-LJO-SKO
22          (20)    Gray v. City of Fresno, et al., 1:12-cv-01128-LJO-SKO
23          (21)    Butler v. City of Fresno, et al., 1:12-cv-01130-LJO-SKO
24          (22)    Lowe v. City of Fresno, et al., 1:12-cv-01132-LJO-SKO
25          (23)    Brown v. City of Fresno, et al., 1:12-cv-01133-LJO-SKO
26          (24)    Picazo v. City of Fresno, et al., 1:12-cv-01134-LJO-SKO
27          (25)    Collins v. City of Fresno, et al., 1:12-cv-01136-LJO-SKO
28          (26)    Galvan v. City of Fresno, et al., 1:12-cv-01137-LJO-SKO

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           Case 1:12-cv-00448-LJO-SKO Document 14 Filed 08/27/12 Page 3 of 3


 1            (27)   Gilliam v. City of Fresno, et al., 1:12-cv-01138-LJO-SKO
 2            (28)   Sims v. City of Fresno, et al., 1:12-cv-01139-LJO-SKO
 3            (29)   Hernandez v. City of Fresno, et al., 1:12-cv-01161-LJO-SKO
 4            (30)   Santa Rosa et al. v. City of Fresno, et al., 1:12-cv-01162-LJO-SKO
 5            (31)   Hicks v. City of Fresno, et al., 1:12-cv-01166-LJO-SKO;
 6            (32)   Hackett v. City of Fresno, et al., 1:12-cv-01215-LJO-SKO
 7   Sanchez v. City of Fresno, et al., Case No. 1:12-cv-00428-LJO-SKO, shall be designated as the
 8   "lead" case, and the remaining consolidated cases shall be administratively closed.
 9            Accordingly, IT IS HEREBY ORDERED that all cases related to Case No. 1:12-cv-00428-
10   LJO-SKO, as identified above, shall be consolidated for all pretrial purposes.
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12   IT IS SO ORDERED.
13   Dated:      August 24, 2012                       /s/ Sheila K. Oberto
     ie14hj                                    UNITED STATES MAGISTRATE JUDGE
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